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2/23/2019 Arkansas Secretary of State

 

 

Search Incorporations, Cooperatives, Banks and Insurance Companies

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Begin New Search

For service of process contact the Secretary of State's office,

Corporation Name WALMART INC.
Fictitious Names BUD'S DISCOUNT CITY
BUD'S WAREHOUSE OUTLET

Filing #

Filing Type
Filed under Act
Status

Principal Address

BUD'S WAREHOUSE OUTLET

FORT SMITH REMARKETING

SAM'S CLUB

SAM'S WHOLESALE CLUB

WAL-MART

WAL-MART AVIATION

WAL-MART EXPRESS

WAL-MART NEIGHBORHOOD MARKET
WAL-MART NEIGHBORHOOD MARKET
WAL-MART SUPERCENTER
WAL-MART SUPERCENTER
WAL-MART SUPERCENTER
WAL-MART SUPERCENTER #1147
WAL-MART SUPERCENTER #8
WAL-MART VACATIONS

WALTON LIFE FITNESS CENTER

100067582

Foreign For Profit Corporation
For Bus Corp; 958 of 1987
Good Standing

Reg. Agent C T CORPORATION SYSTEM

Agent Address 124 WEST CAPITOL AVENUE, SUITE 1900
LITTLE ROCK, AR 72201

Date Filed 03/31/1970

Officers SEE FILE, Incorporator/Organizer

Foreign Name

Foreign Address

State of Origin

Purchase a Certificate of Good

RICKY YOUNG , Tax Preparer

C DOUGLAS MCMILLON , President
GORDON ALLISON , Secretary
ANTHONY WALKER , Vice-President
MICHAEL COOK , Treasurer

M BRETT BIGGS , Controller

N/A

702 SW 8TH STREET
BENTONVILLE, AR 72716

DE

Pay Franchise Tax for this corporation

DEFENDANT’S
j EXHIBIT

https://www.sos.arkansas.gov/corps/search_corps.php?DETAIL=9121 &corp_type_id=&corp_name=WALMART &agent_search=&agent_city=&agent_s...

 

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